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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

PATRICK WECKESSER, on behalf of )
himself and all others similarly situated, )
                                           )
               Plaintiffs,                 )
                                           )
v.                                         )
                                           )       Civil Action No. 2:16-cv-2053-RMG
                                           )
KNIGHT ENTERPRISES, S.E. LLC               )
                                           )
               Defendant.                  )
                                           )
                                           )


                   STIPULATION OF SETTLEMENT AND RELEASE

       Subject to the approval of the United States District Court for the District of South
Carolina (“Court”), and pursuant to 29 U.S.C. § 216(b) of the federal Fair Labor Standards Act,
29 U.S.C. §201 et seq. (“FLSA”), the Parties, by and through their counsel, agree to the
following stipulation of Settlement and Release (“Stipulation of Settlement”).

                                         RECITALS

       Whereas, on June 20, 2016, Named Plaintiff Patrick Weckesser filed an action entitled
Patrick Weckesser, on behalf of himself and all others similarly situated v. Knight Enterprises,
S.E., LLC, No. 2:16-cv-2053-RMG, in the United States District Court for the District of South
Carolina (the “Action”);

         Whereas, in the Action, the Named Plaintiff alleged that Defendant violated the Fair
Labor Standards Act (“FLSA”), by misclassifying Plaintiff and the putative opt-in class as
independent contractors instead of employees and, thereby, owed overtime and minimum wages.
Plaintiff Weckesser also brought a claim under the South Carolina Payment of Wages Act
(“SCPWA”) based on various deductions made from his pay that he alleged violated the prior
notice requirements of the same. The SCPWA claim was later voluntarily dismissed from the
litigation. The Named Plaintiff sought damages, equitable relief, penalties, attorneys’ fees and
costs, on his own behalf and on behalf of similarly situated individuals;

        Whereas, on October 20, 2016, Defendant filed a motion to dismiss and compel
arbitration which was subsequently denied by the Court on January 27, 2017;


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       Whereas, on February 24, 2017, Defendant filed an interlocutory appeal of the Court’s
January 2017 order to the Fourth Circuit Court of Appeals;

      Whereas on June 12, 2018, the Fourth Circuit Court of Appeals issued an order
unanimously affirming the Court’s prior January 2017 order;

       Whereas, on July 19, 2018, Defendant filed its Answer asserting various affirmative
defenses;

        Whereas, on July 19, 2018, Plaintiff filed his motion for conditional class action
certification under the FLSA and for 496 days of equitable tolling, the time period during which
the case was stayed on appeal to the Fourth Circuit. This Court granted the motion on August 17,
2018. Thereafter, Plaintiffs’ counsel promptly disseminated notice to the putative opt-in class
and thirty-three individuals either joined the collective prior to notice being issued or opted-in
during the notice period. Additional individuals joined the case but either subsequently opted-out
of the litigation, were dismissed without prejudice for failure to cooperate in the discovery
process, or were time-barred and removed from the litigation, also without prejudice.1 Therefore,
the scope of the settlement class consists of 33 Plaintiffs who filed consent forms with this Court
and worked for Defendant, along with the Named Plaintiff, Patrick Weckesser, for a grand total
of 34 individuals;

       Whereas, the Parties participated in a mediation with David McCormack on May 8, 2019,
but were unable to resolve their claims;

         Whereas, the Parties conducted significant discovery during the discovery phase of this
litigation, including production of over one-hundred thousand pages (“100,000”) of written
documents and took or defended 12 depositions in three cities;

        Whereas, the Court conducted a bench meeting on June 7, 2019, and scheduled this case
for a 4-day bench trial to commence on August 26, 2019;

        Whereas, Plaintiffs’ counsel moved for final step-two FLSA collective action
certification on June 25, 2019, which Defendant opposed as its contemporaneous motion for
decertification. The Court granted step-two certification of the FLSA collective action on July
22, 2019;

        Whereas, in agreeing to the settlement embodied in the Stipulation of Settlement, the
Parties have considered: (i) the facts developed during the pendency of the Action and the law
applicable thereto; (ii) the attendant risks of continued litigation and the uncertainty of the

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  Those individuals that opted-out of the litigation include Jermeil Bowers, Richard Fulton,
Michael Gallman, and Gary Leysen. Those individuals who were dismissed without prejudice for
failure to participate in the discovery process include Martin Davila, Jonathan Davy, and Brian
Rowland. The time-barred individuals include Franklin Adams and Richard Mason. These nine
(“9”) individuals will not participate in the settlement process.
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outcome of the Action; (iii) the desirability of permitting the settlement to be consummated
according to the terms of the Stipulation of Settlement; and (iv) the conclusion of the Parties and
their counsel that the terms and conditions of this Agreement are fair, reasonable, adequate, and
that it is in the Parties’ best interests to settle the Action as set forth below;

       Whereas, the Parties agree to cooperate and take all steps necessary and appropriate to
dismiss this Action with prejudice; and

        Whereas, it is the intention of the Parties that this Stipulation of Settlement shall
constitute a full and complete settlement of all Released Claims against all Released Parties.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED among the
Parties, by and through their respective attorneys of record, and subject to the approval of the
Court, that in consideration of the foregoing and of the promises and mutual covenants contained
herein, and other good and valuable consideration, the Action shall be settled, released and
dismissed with prejudice, upon and subject to the following terms and conditions:

1.      DEFINITIONS

       For purposes of this Stipulation of Settlement, the following definitions shall apply, in
addition to the definitions set forth in other sections of this Stipulation of Settlement:

         A. “Defendant” shall mean and refer to Knight Enterprises, S.E., LLC; Jeffry Knight,
Inc., Jeffry Knight in an individual capacity, and all of Defendant’s subsidiaries, parents and
affiliates and corporate officers in an individual capacity.

        B. “Action” shall mean and refer to the action entitled Weckesser, et. al. v. Knight
Enterprises, S.E. LLC, Case No. 2:16-cv-2053 pending in the United States District Court for the
District of South Carolina;

        C. “Named Plaintiff” means Patrick Weckesser.

         D. “Opt-In Plaintiffs” shall mean the 33 individuals, aside from Weckesser, who filed
consent forms with the Court requesting to participate in this Action that remain party plaintiffs
in the litigation.

        E. “Court” means the United States District Court for the District of South Carolina.

       F. “Settling Plaintiffs” shall mean the Named or Opt-In Plaintiffs who are included
within the scope of the settlement and who timely execute and return a “Release of Claims
Form.”

       G. “Rejecter” shall mean the Named or Opt-In Plaintiff within the scope of the
settlement class who communicates a written rejection within the timeline outlined below.



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       H. “Non-Responder” shall mean the Named or Opt-In Plaintiff within the scope of the
settlement class who does not return a Release of Claims Form and does not meet the definition
of a Rejecter.

        I.   “Plaintiffs’ Counsel” shall mean the law firm of Falls Legal, LLC.

       J. “Defendant’s Counsel” shall mean the law firms of Nelson Mullins Riley &
Scarborough and Weber, Crabb & Wein, P.A.

       K. “Settlement Effective Date” shall mean the date upon which the Court enters an Order
granting approval of the Stipulation of Settlement.

        L. “Released Claims” has the meaning set forth below.

        M. “Released Parties” means Defendant together with its owners, parent companies,
divisions, subsidiaries, affiliates, trustees, predecessors, successors, transferees, assigns, insurers,
officers, directors, members, employees, agents, and representatives.

2.      SETTLEMENT AMOUNT

       A.     In consideration for the actions, promises and mutual covenants and releases
described herein, and subject to court approval, Defendant agrees to pay the total sum of
$600,000.00 (the “Settlement Amount”), subject only to the offsets described in Section 4(F)
below, to resolve all Settling Plaintiffs’ Released Claims. The Settlement Amount includes all
amounts to be paid by Defendant, including amounts for payments to the Settling Plaintiffs,
attorneys’ fees, litigation costs and expenses of Plaintiffs’ Counsel, and service award payments,
as described below. The Settlement Amount will be apportioned as follows:

                        (1) Three-Hundred and Twenty Five Thousand Dollars ($325,000.00) will
                            be distributed pro rata to the Plaintiffs. This amount is only subject to
                            the offsets described in Section 4(F) below. The allocation of this
                            amount will be based on a formula developed by Plaintiffs’ counsel
                            exclusively for settlement purposes. All amounts to Settling Plaintiffs
                            will be reported on an IRS Form 1099 at year-end. Defendant will cut
                            and issue the checks for each individual Settling Plaintiff and deliver
                            them to Plaintiffs’ counsel by a secure delivery method, such as
                            FedEx, consistent with the timeline described further below.
                            Defendant will be responsible for issuing Form 1099s to Settling
                            Plaintiffs and Plaintiffs’ counsel will ensure Defendant receives
                            updated addresses through the settlement process so that Defendant
                            may update its database with such information. Subject to the Court’s
                            approval of the service awards described further below, any applicable
                            service award will be added to the total of the 1099 check from which
                            no taxes will be withheld.


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                     a. It is expressly understood and agreed that the receipt of any
                        payment under this Settlement Agreement will not entitle any
                        Plaintiff to additional compensation or benefits from
                        Defendant.

                     b. Each Plaintiff’s pro rata share of the Settlement Fund was
                        calculated based on the weeks they worked over a three-year
                        statute of limitations period, with prior approved Court tolling.
                        Each Plaintiff’s share is listed on the Payment Schedule
                        attached hereto as Exhibit A, along with any applicable offset.

                     c. Each Settling Plaintiff shall be entitled to obtain his or her own
                        independent tax advice concerning the proper income reporting
                        and tax obligations regarding any and all payments and/or
                        other remuneration he or she receives or obtains pursuant to
                        this Stipulation of Settlement, and shall further assume the
                        responsibility of remitting to the IRS and any other relevant
                        taxing authorities any and all amounts required by law to be
                        paid out of any monies received, or other remuneration
                        obtained, under this Stipulation of Settlement, without any
                        contribution whatsoever from any of the Released Parties or
                        Plaintiffs’ Counsel. Nothing in this Stipulation of Settlement
                        shall be construed as Defendant or Plaintiffs’ Counsel
                        providing any advice regarding the reporting or payment of
                        taxes or the tax consequences of a Settling Plaintiff’s
                        participation in any portion of this Stipulation of Settlement.

              (2) Forty-thousand Dollars ($40,000.00) in Service Awards: Subject to
                  Court approval, Named Plaintiff Weckesser and Opt-In Plaintiffs
                  Legree and McKinnon shall receive ten thousand dollars each
                  ($10,000.00) in recognition for their services provided in this
                  litigation. These three individuals have contributed substantial time,
                  resources, and efforts on behalf of the class since the beginning of the
                  litigation. Additionally, subject to Court approval, Plaintiffs Dixon
                  Annikey, Blake Ebert, Alfonso Leggette, and Willie Malone, shall
                  receive two thousand five hundred dollars ($2,500.00) each for their
                  service as Opt-In Plaintiffs through a portion of the case and the time,
                  resources, and efforts, they expended on behalf of the class, including
                  providing a deposition and participating in written discovery. The total
                  of the service awards is $40,000.00. Defendant agrees not to oppose
                  any request made by Plaintiffs to the Court for the above service
                  awards. With respect to any service award approved by the Court,
                  Defendant shall add service awards to the 1099 check issued to each
                  Settling Plaintiff. Furthermore, it is understood that should the Court

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                           not approve any portion of the requested service awards in this
                           paragraph, such funds that are not approved will not revert to
                           Defendant and, instead, will be reallocated to the Settling Plaintiffs on
                           a pro rata basis.

        B.     Subject to Court approval, Defendant will pay Plaintiffs’ counsel Two Hundred
Thirty Five Thousand Dollars ($235,000.00) in attorneys’ fees and expenses, for which
Defendant will issue an IRS Form 1099 to Plaintiffs’ counsel at year end. Defendant agrees not
to oppose any request made by Plaintiffs to the Court for the above amount in attorneys’ fees and
expenses. Plaintiffs’ Counsel shall not be entitled to any additional attorneys’ fees and expenses
in connection with this Litigation in excess of what is approved by the Court in connection with
this Settlement Agreement. If the Court refuses to approve Plaintiffs’ counsel’s attorneys’ fees
and costs as stated herein, and Plaintiffs’ counsel must take any additional action to obtain
approval, such as filing a fee petition with the Court, Defendants agree not to oppose any such
action as long as Plaintiffs’ counsel requests no more than $235,000.00 in attorneys’ fees and
costs in such petition. All payments for attorneys’ fees and costs shall be made within 35
calendar days from the date that the Court issues an Order approving this settlement.

        C.      Plaintiffs and Defendant agree to take all action necessary to seek approval of the
terms of this settlement by the United States District Court for the District of South Carolina in
conjunction with the case captioned Weckesser, et. al. v. Knight Enterprises S.E., LLC, Case No.
2:16-cv-2053 (D.S.C.) (the “Action”). This includes jointly moving the Court to approve the
terms of this settlement. Plaintiffs also agree to take all action necessary to have the claims in the
Litigation dismissed with prejudice.

3.      COMMUNICATING SETTLEMENT OFFERS; REJECTORS AND NON-
        RESPONDERS

        A.     Plaintiffs’ Counsel shall be responsible for distributing the notice of this
settlement to the Plaintiffs within the scope of the settlement class. To be eligible to receive
his/her settlement checks, each Plaintiff within the scope of the settlement class must sign and
return a Release Form, attached hereto as Exhibit B, no later than 90 days following Plaintiffs’
Counsel’s receipt of the settlement checks.

        B.      Each Plaintiff within the scope of the settlement class shall have the opportunity
to accept or reject his/her individual settlement offer. Any rejections must be communicated in
writing to Plaintiffs’ Counsel no later than 30 days following Plaintiffs’ Counsel’s receipt of the
settlement checks. A Plaintiff within the scope of the settlement class who communicates a
rejection is referred to herein as a “Rejecter.” Rejecters shall be dismissed without prejudice and
he/she shall have thirty (30) days from the date the rejection is communicated to Plaintiffs’
Counsel within which to file a subsequent claim, with the tolling from this case remaining intact,
should he or she choose to do so. Failure to re-file his/her claim within this timeline will result
in his/her forfeiture of consent-based tolling. Rejecters will not be bound by the Release outlined
herein. Plaintiffs’ Counsel will promptly advise Defendant’s Counsel in the event any such

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rejections are received and will return the settlement checks made payable to any such Rejecters
to Defendant’s Counsel. The settlement monies allocated to any such Rejecters shall revert to
Defendant.

       C.      Any Opt-In Plaintiff within the scope of the settlement class who does not return a
Release Form and does not meet the definition of a Rejecter is referred to herein as a “Non-
Responder.” Non-Responders will be dismissed from the Action without prejudice. Plaintiffs’
Counsel agrees to return the settlement checks made payable to any such non-responders
following the close of the non-responder period, 90 days after Plaintiff’s Counsel’s receipt of the
settlement checks.

        D.      Counsel for the Parties agree, within the boundaries of applicable ethical rules,
that they will not attempt, directly or indirectly, to encourage any Plaintiff to reject his or her
individual settlement offer. Plaintiffs’ Counsel further agrees, within the boundaries of
applicable ethical rules, that they will recommend acceptance of the individual settlement offer
to each Plaintiff within the scope of the settlement class.

4.      SETTLEMENT PAYMENT TIMELINE AND DISTRIBUTION OF CHECKS

        A.      Within thirty-five (“35”) calendar days of the Court’s approval of the Settlement,
Defendant shall provide to Plaintiffs’ Counsel all of the settlement checks, including service
awards, for each Settling Plaintiff by Fed-Ex or similar delivery. Checks to Settling Plaintiffs
shall indicate on their face that they will be void after ninety (90) days. Accordingly, Settling
Plaintiffs shall have ninety (90) days to cash, deposit, or otherwise negotiate each of their
settlement checks.

        B.     Plaintiffs’ Counsel will keep the checks in their sole possession until such time as
each Settling Plaintiff executes the Release attached as Exhibit B, either electronically or by
hand. Upon execution of the Release, Plaintiffs’ Counsel will deliver the checks to the Settling
Plaintiff and forward the executed Release to Defendant’s Counsel. No Settling Plaintiff will
receive a check from Plaintiffs’ counsel until Plaintiffs’ counsel is in possession of the release
attached as Exhibit B.

        C.      Settlement checks that have not been cashed, deposited, or otherwise negotiated
within 90 days shall be null and void. Defendant shall provide Plaintiffs’ Counsel with a list of
the Settling Plaintiffs who have not cashed their checks thirty (30) days prior to the expiration of
this 90-day period.

        D.     Plaintiffs’ counsel shall void and either return to Defendant’s counsel or destroy
check numbers 191999 in the amount of $3,060.32 (daily trial witness fee check); 100354 in the
amount of $18,841.02 (prior Fladger settlement check); 100355 in the amount of $8,429.48
(prior Pikago settlement check); 100356 in the amount of $18,048.02 (prior Leggette settlement
check); 191626 in the amount of $7,536.41 (prior Falls Legal fee check); 191627 in the amount
of $3,371.79 (prior Falls Legal fee check); and 191628 in the amount of $7,219.21 (prior Falls

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Legal fee check). Those proceeds will not be distributed or negotiated by Plaintiffs or Plaintiffs’
counsel’s law firm.

        E.     Excluding those checks referenced in Section 4(D) above which Plaintiffs’
counsel will destroy or return to Defendant’s counsel, Defendant will stop payment on all other
outstanding settlement checks that it previously issued directly to the Plaintiffs in this case that
have not been negotiated as of the date of the signing of this Agreement. Defendant shall be
solely responsible for any costs associated with the stop payment order.

       F.      For those individuals who have already executed purported settlement checks
during the course of litigation, Michael Clark, Jon Gibson, Andre Heatley, Kevin Kahle, and
Alexander Reid. Defendant will receive an offset for the amount already paid against that
individual’s pro rata settlement award. Those amounts are demonstrated on Exhibit A.

5.      RELEASE OF WAGE CLAIMS

        Subject to the approval of the Court, in consideration of the benefits inuring to the Parties
hereto, each and every Settling Plaintiff, on behalf of his/her respective heirs, beneficiaries,
devisees, legatees, executors, administrators, trustees, conservators, guardians, personal
representatives, successors-in-interest, and assigns, releases and forever discharges (i)
Defendant; (ii) any current or former subsidiary, parent company, affiliated entity, related entity,
successor, assign, or division of Defendant; and (iii) any current or former officer, director,
trustee, agent, employee, shareholder, representative, advisor, insurer, or attorney of any entity
referenced in or encompassed by subsection (i) or (ii) hereof (collectively, “Releasees”), from
any and all claims that were or could have been brought by him or her in the Litigation, whether
known or unknown, through the date of this Settlement Agreement and Release, limited to wage
claims under federal, state, or local law for hours worked, including but not limited to such
claims under the Fair Labor Standards Act or any state minimum wage laws, state wage payment
and collection laws, state overtime statutes, state common law and unjust enrichment, or
pursuant to express or implied wage contract claims for hours worked up to and including the
date of this Settlement Agreement and Release. Likewise, Defendant, as defined above in this
paragraph in subsections (i), (ii), and (iii), shall release the Named Plaintiff and all Opt-In
Plaintiffs from any and all claims for breach of any independent contractor services agreement,
indemnification, unjust enrichment/quantum meruit, and any and all other claims, whether
known or unknown, that it may have brought in this litigation or separate litigation.

6.     ACKNOWLEDGMENTS AND AFFIRMATIONS. By executing the attached
Release, each Settling Plaintiff affirms that he or she has not filed, caused to be filed, or
presently is a party to any claim against any Defendant, except those in the Litigation.

7.      GOVERNING LAW AND INTERPRETATION. This Settlement Agreement and
Release shall be governed and interpreted in accordance with federal law and the law of South
Carolina, to the extent federal law does not apply.


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8.     NONADMISSION OF WRONGDOING. The Parties agree that neither this Settlement
Agreement and Release nor the furnishing of the consideration for this Settlement Agreement
and Release shall be deemed or construed at any time for any purpose as an admission by the
Releasees of wrongdoing or evidence of any liability or unlawful conduct of any kind.
Defendant expressly denies any wrongdoing whatsoever in connection with the allegations in the
Lawsuit.

9.      AMENDMENT. This Settlement Agreement and Release may not be modified, altered,
or changed except in writing and signed by all Parties.

10.     ENTIRE AGREEMENT. This Settlement Agreement and Release sets forth the entire
agreement between the Parties hereto, and fully supersedes any prior agreements or
understandings between the Parties. Plaintiffs acknowledge that they have not relied on any
representations, promises, or agreements of any kind made in connection with their decision to
accept this Settlement Agreement and Release, except for those expressly set forth in this
Settlement Agreement and Release.

11.     COUNTERPARTS. This Settlement Agreement and Release may be executed in one or
more counterparts and by facsimile or email. All executed copies of this Settlement Agreement
and Release, and photocopies thereof (including facsimile and/or emailed copies of the signature
pages), shall have the same force and effect and shall be as legally binding and enforceable as the
original.

12.    INVALID WITHOUT COURT APPROVAL. This Settlement Agreement and
Release is subject to approval by the United States District Court for the District of South
Carolina in the Litigation. In the event it is not approved, it shall be deemed null and void, of no
force and effect, and of no probative value, and the Parties hereto represent, warrant, and
covenant that in that event it will not be used or referred to for any purpose whatsoever regarding
the pursuit of the claims or defenses at issue in the Litigation. In the event the Court does not
approve the settlement, the Parties shall return to their respective positions immediately prior to
the execution of this Settlement Agreement and Release.

13.     NO SIGNATURE REQUIRED BY OPT-IN PLAINTIFFS. Because the Opt In
Plaintiffs are so numerous, and because this Settlement Agreement and Release must be
approved by the Court, it is impossible or impractical to have each Opt In Plaintiff execute this
Agreement. To confirm their agreement to the terms of this Settlement Agreement and Release,
each Settling Plaintiff shall sign electronically or by hand the attached short-form Release,
Exhibit B, prior to taking possession of their checks from Plaintiffs’ Counsel.

14.     RETENTION OF JURISDICTION. The Court shall retain jurisdiction with respect to
the interpretation, implementation, and enforcement of the terms of this Agreement and all
orders and judgments entered in connection therewith, and the Parties and their counsel hereto
submit to the jurisdiction of the Court for purposes of interpreting, implementing, and enforcing
the settlement embodied in this Agreement and all orders and judgments entered in connection
therewith.
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                     The Parties knowingly and voluntarily sign, and affirm that the signatory below is duly
             authorized to sign, this Settlement Agreement and Release as a valid and binding act of each, as
             of the date(s) set forth below:

             KNIGHT ENTERPRISES S.E., LLC

             By:       ______________________________                   Date: __________________



             DEFENDANTS’ COUNSEL

             By: _______________________________                        Date: __________________



             PATRICK WECKESSER (on behalf of himself and all Opt In Plaintiffs):



             By:       ______________________________                   Date: __________________



             PLAINTIFFS’ COUNSEL


             By:       ______________________________                   Date: __________________



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                          EXHIBIT A
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    LAST        FIRST   TOTAL WEEKS* PRO RATA FACTOR UNADJUST. AWARD SERVICE AWARD        OFFSET     TOTAL AWARD**
Annikey     Dixon                170            5.16%       $16,762.74    $2,500.00                       $19,262.74
Barrett     Courtney              39            1.18%        $3,845.57                                      $3,845.57
Clark       Michael               80            2.43%        $7,888.35                   $2,256.40          $5,631.95
Corbitt     Michael               46            1.40%        $4,535.80                                      $4,535.80
Dease       D'Andre              114            3.46%       $11,240.90                                    $11,240.90
Dixon       Tyrone                22            0.67%        $2,169.30                                      $2,169.30
Ebert       Blake                165            5.01%       $16,269.72    $2,500.00                       $18,769.72
Fladger     Jireh                201            6.10%       $19,819.48                                    $19,819.48
Gibson      Jon                   91            2.76%        $8,973.00                   $1,144.62          $7,828.38
Heatley     Andre                224            6.80%       $22,087.38                   $9,474.43        $12,612.95
Heyward     Kwome                 83            2.52%        $8,184.16                                      $8,184.16
Johnson     Marquis               18            0.55%        $1,774.88                                      $1,774.88
Kahle       Kevin                 73            2.21%        $7,198.12                     $500.00          $6,698.12
Keitt       James                132            4.00%       $13,015.78                                    $13,015.78
Lausier     Daniel                19            0.58%        $1,873.48                                      $1,873.48
Leggette    Alfonso              185            5.61%       $18,241.81    $2,500.00                       $20,741.81
Legree      Paul                 193            5.86%       $19,030.64   $10,000.00                       $29,030.64
Liberty     Amy                  175            5.31%       $17,255.76                                    $17,255.76
Malone      Willie                91            2.76%        $8,973.00    $2,500.00                       $11,473.00
Maurey      Austin                34            1.03%        $3,352.55                                      $3,352.55
McKinney    Matthew               33            1.00%        $3,253.94                                      $3,253.94
McKinnon    West                 221            6.71%       $21,791.57   $10,000.00                       $31,791.57
Ochieng     Brian                135            4.10%       $13,311.59                                    $13,311.59
Papillion   Derek                115            3.49%       $11,339.50                                    $11,339.50
Pikago      Michael              165            5.01%       $16,269.72                                    $16,269.72
Reid        Alexander             77            2.34%        $7,592.54                   $1,468.97          $6,123.57
Stewart     Ushmartiyah           28            0.85%        $2,760.92                                      $2,760.92
Thompson    Kimathi               13            0.39%        $1,281.86                                      $1,281.86
Tubman      Alvin                 54            1.64%        $5,324.64                                      $5,324.64
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Vanderkarr   George                      64                1.94%             $6,310.68                              $6,310.68
Webb         Damon                        9                0.27%              $887.44                                $887.44
Weckesser    Patrick                     30                0.91%             $2,958.13   $10,000.00                $12,958.13
Wilson       Nathan                     178                5.40%            $17,551.58                             $17,551.58
Wyckoff      James                       19                0.58%             $1,873.48                              $1,873.48

TOTALS                                 3296             100.00%           $325,000.00    $40,000.00 -$14,844.42   $350,155.58

*Based on 3-year statute (with tolling) calculated to present date or date last worked
**Adding service award and subtracting any offset
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                          EXHIBIT B
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                                Exhibit B
              RELEASE ENDORSEMENT TO BE DISTRIBUTED
                     WITH SETTLEMENT CHECKS


          Weckesser, et. al. v. Knight Enterprises, S.E., LLC
     In the United States District Court for the District of South
                                Carolina
                         2:16-cv-2053-RMG

As a consequence of accepting, cashing and/or depositing the settlement
check issued to me, I hereby forever discharge and release Defendant and
each of its parents, divisions, current or former subsidiaries, affiliates,
successors, assigns, divisions, current or former officers, directors, trustees,
agents, employees, shareholders, representatives, advisors, insurers,
attorneys from any and all claims that were or could have been brought by
me in the above-reference Action, whether known or unknown, through the
date of this Settlement Agreement and release, limited to wage claims under
federal, state, or local law for hours worked, including but not limited to
such claims under the Fair Labor Standards Act or any state minimum wage
laws, state wage payment and collection laws, state overtime statutes, state
common law and unjust enrichment, or pursuant to express or implied wage
contract claims for hours worked up to and including the date of the signing
of this Release.


___________________________                   ______________________________
Signature                                     Mailing/Street Address & Apt. No. *


___________________________                   _____________________________
Print Name                                    City, State, Zip Code *


___________________________                   *This is the address we will use to
Date                                          mail your checks and tax documents
